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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                                BISMARK DIVISION

STATE OF IOWA, et al.,

            Plaintiffs,
      v.

COUNCIL ON ENVIRONMENTAL
QUALITY, and BRENDA MALLORY, in her
official capacity as Chair,

            Defendants,                        Case No. 1:24-cv-00089-DMT-CRH

ALASKA COMMUNITY ACTION ON
TOXICS; CENTER FOR BIOLOGICAL
DIVERSITY; CENTER FOR
ENVIRONMENTAL HEALTH; CENTER FOR
FOOD SAFETY; ENVIRONMENTAL LAW
AND POLICY CENTER; ENVIRONMENTAL
PROTECTION INFORMATION CENTER;
FOOD & WATER WATCH; FORT
BERTHOLD POWER; FRIENDS OF THE
EARTH; GREEN LATINOS; LABOR
COUNCIL ON LATIN AMERICAN
ADVANCEMENT; MĀLAMA MĀKUA;
NATIONAL PARKS CONSERVATION
ASSOCIATION; NATIONAL WILDLIFE
FEDERATION; OCEAN CONSERVANCY;
PEOPLE’S COLLECTIVE FOR
ENVIRONMENTAL JUSTICE; RIO GRANDE
INTERNATIONAL STUDY CENTER;
SOUTHERN UTAH WILDERNESS
ALLIANCE; WE ACT FOR
ENVIRONMENTAL JUSTICE; THE
WILDERNESS SOCIETY, and WINTER
WILDLANDS ALLIANCE,

            Applicant-Intervenor-Defendants.


                          MOTION TO INTERVENE




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       Alaska Community Action on Toxics, Center for Biological Diversity, Center for

Environmental Health, Center for Food Safety, Environmental Law and Policy Center,

Environmental Protection Information Center, Food & Water Watch, Fort Berthold POWER,

Friends of the Earth, Green Latinos, Labor Council on Latin American Advancement, Mālama

Mākua, National Parks Conservation Association, National Wildlife Federation, Ocean

Conservancy, People’s Collective for Environmental Justice, Rio Grande International Study

Center, Southern Utah Wilderness Alliance, WE ACT for Environmental Justice, The

Wilderness Society, and Winter Wildlands Alliance (collectively, “Applicants”) respectfully

move under Federal Rule of Civil Procedure 24 to intervene as defendants in this action. A

memorandum in support of this motion, proposed answer, and declarations from the movants are

filed contemporaneously with the motion. Undersigned counsel have conferred with Plaintiffs

and the Federal Defendants about this motion. Plaintiffs and the Federal Defendants take no

position on this motion.



       Dated this 27th day of June, 2024.

                                             s/ Jan E. Hasselman
                                             JAN E. HASSELMAN (Admitted in D.N.D.)
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 27, 2024, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system, which will send notification of this filing to the

attorneys of record and all registered participants.

       Dated: June 27, 2024.
                                                       s/ Jan E. Hasselman
                                                       Jan E. Hasselman




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